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                        IN THE UNITED STATES DISTRICT COURT                                  3/16/2020
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                               HARRISONBURG DIVISION
                                                                                         s/ J. Vasquez
 B.D.G.H., a minor, by and through his next            )
 friend SCOTT BASSETT,                                 )
                                                       )
        Plaintiff,                                     )
                                                       )
 V.                                                    )            Case No. 5:20-cv-00020
                                                       )
 JONATHAN HAYES, Acting Director,                      )
 Office of Refugee Resettlement;                       )
                                                       )
 KENNETH TOTA, Deputy Director, Office                 )
 of Refugee Resettlement;                              )
                                                       )
 LYNN JOHNSON, Assistant Secretary for                 )
 the Administration for Children and Families,         )
 U.S. Department of Health and Human                   )
 Services;                                             )
                                                       )
 ALEX AZAR, Secretary, U.S. Department of              )
 Health and Human Services;                            )
                                                       )
 NATASHA DA YID, Federal Field Specialist,             )
 Office of Refugee Resettlement; and                   )
                                                       )
 TIMOTHY SHOWALTER, Executive                          )
 Director, Shenandoah Valley Juvenile Center,          )
 in their official capacities,                         )
                                                       )
        Defendants.                                    )

                     ORDER GRANTING MOTION FOR CONTINUANCE

       Upon consideration of the Defendants' Motion for Continuance, and it appearing proper

to do so, it is ORDERED that the deadline for Defendants to file a response to the Court's Order

to Show Cause in this matter be continued to March 20, 2020.

       ENTERED this        /{9...)+..   day of___,m--'-'--'-a{!,,-=-u/-
                                                                    _ _ _ __   , 2020.

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                                               ELIZABETH K. DILLON
                                               UNITED STATES DISTRICT JUDGE
